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                     ClNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA
                           WESTERN DIVISION

  1 800 GET THIN,                     1
                                      )    Case: 2: 11-CV-0505-ODW(Ex)
                                      'I
       Plaintiffs,
                                      1    PLAINTIFFS OPPOSITION TO
       VS.

 MICHAEL HILTZIK, etc., et al.,
                                      I
                                      1
                                           DEFENDANTS MOTION FOR
                                           ATTORNEYS FEES


       Defendants.                    )

                                      ] HEARING DATE: SEPT 2 20 11
                                      1 TIME: 1:30PM
                                      ) COURTROOM: 750 - Roybal
                                      )
                                      )
                                      )
                                           HON. OTIS D. WRIGHT




 Case No.: 11-CV-0505-ODW-Ex                   OPP TO MTN FOR ATTY FEES
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                                                     I.
                                          INTRODUCTION
         Plaintiff, 1 800 GET THIN submits this Opposition to Defendants7Motion for
   Attorneys' Fees. This Opposition is based on the following:
         (1) Defendants' Motion for Fees is made in bad faith because defense counsel has
   charged one fee rate in this Court and a different fee rate in the Bankruptcy Court for the
   identical work, while defendants have concealed the overreaching from this Court;
         (2) Defense counsel has willfully concealed that they have granted a 30% discount
   on their "reduced" fees in the Bankruptcy Court and sought in bad faith to "fool" this Court
   into believing the requested fee is their ordinary "market" rate;
         (3) Defendants make no showing of "exceptional" circumstances required for an
   attorney's fees award under the Lanham Act, and defendants have engaged in wasteful,
   duplicative, and unnecessary service which were excessive.
         A. Statement of the Case.
         Plaintiff, 1 800 GET THIN, filed this action on January 18,2011, alleging False
   Advertising and Trade disparagement under the Lanham Act, 15 U.S.C. section 1051 et
   seq. Defendants LA Times is a newspaper, and defendants Hiltzik and Pfeifer are
   columnists with the Times. Defendants have engaged in a fraudulent scheme of adopting
   false names, aliases, and nom de plums to create "strawrnan" blogger identities where they
   engaged in "stock-puppeteering" to write false comments about 1 800 GET THIN in a
   deliberate false attack against 1 800 GET THIN under the names of the other "screen
   name" defendants and Doe defendant. (Complaint, p. 12, line 17, to p. 13, line 17). These
   false and fraudulent statements constitute the accusation of the commission of crimes, trade
   libel, and knowingly false claims that 1 800 GET THIN is responsible for the deaths of
   patients from the surgical facilities who are its advertisers. Milkovich v. Lorain
   Journa1,497 U.S. 1 , 7 (1990)(false accusation of a crime is defamatory per se which enjoys
   no constitutional protection). The false accusation constitutes actionable trade libel and
   product disparagement under section 43(a) of the Lanham Act, 15 U.S.C. sections 1114(a)


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    and 1125.
          Defendants' actions were egregious, and the Complaint alleges that Hiltzik has
    utilized alias "shills" and "strawmen" "stock-puppeteering" on his own website where he
    places confirmatory and defamatory comments about 1 800 GET THIN when in fact, the
    comments come from him. (Complaint, p. 13, lines 5-9). Defendant Hiltzik has a history
    of such conduct and that the Times is on notice of such conduct because it has reprimanded
    him for "sock-puppeteering" in the past, disciplined him for improperly excluding
    favorable reader comments from his blogs, and censored his blogs so that only his own or
    disfavorable comments appear. (Complaint, p. 11, line 25, to p. 12,line6).
          For reasons which 1 800 GET THIN cannot understand, on July 25,201 1, the Court
    granted defendants' Motion to Dismiss under Federal Rules of Civil Procedure Rule
    12(b)(6), with prejudice, finding an amendment to the Complaint would be futile. The
    Court found that while defendants' actions and reports regarding 1 800 GET THIN were
    inaccurate, it was speculative as to what damages the reports had caused and whether there
    were damages cognizable under the Lanham Act. 1 800 GET THIN has suffered at the
    hands of a willfully false report, but one which the Court has considered a botched attempt
    to report it from people who knew better but could not help but '"ootch" the report.
          B. Defendants' Motions for Fees
                 1. Defendants' show no exceptional circumstances under the Lanham Act
          After having filed only one motion in this case and having conducted no discovery,
    defendants have filed a motion for fees seeking $97,200.65 in fees, plus an additional
    $1 1,506.50 incurred in connection with the Motion for Attorneys Fees, for a total of $108,
    707.15. (Defendants' Motion, p. 1, lines 2- 16). Defendants' claim that this matter
    constitutes an "extraordinary" matter under section 35(a) of the Lanham Act, 15 U.S.C. 8
    1117(a), which provides, in part: "The court in exceptional cases may award reasonable
    attorney fees to the prevailing party." However, the Ninth Circuit has stated that
    attorneys' fees may be awarded to a defendant that prevails "[wlhen a plaintiffs case is
    groundless, unreasonable, vexatious, or pursued in bad faith." Stephen W. Boney, Inc. v.


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    Boney Services, Inc., 127 F.3d 821, 827 (9th Cir. 1997). Defendants' claim that 1 800
    GET THIN engaged in such conduct is without merit and lacks any evidentiary support
    because defendant has produced not one item of evidence or testimony to make a showing
    of such facts. They have provided no testimony from Michael Hiltzik denying he engaged
    in fi-audulent"sock-puppeting" and false reporting. They provide no testimony from Stuart
    Pfeifer denying he fabricated facts regarding 1 800 GET THIN.
          The Court's July 25,201 1, ruling found "The mere fact that people could read
    Defendants7articles or comments and conclude that Plaintiff engaged in medical
    procedures is too speculative. Plaintiff has not proffered to the Court sufficient allegations
    to demonstrate that Defendants' articles and comments were causing individuals to arrive
    at such a conclusion." (Opinion, 5-25-1 1, p. 5, lines 20-24). The Court found that while
    defendants may have acted falsely, there would be a "nominative fair use" defense against
    the falsity. (Id. p. 5, n. 3, lines 26-27). The Court found that while false publications may
    have been made, the Ninth Circuit has found "a news report including the publication of a
    person's trademark is not commercial speech nor does it constitute a use in connection with
    commercial advertising or promotion under the Lanham Act," and therefore defendants7
    publications were "outside the scope of 5 1125(a)(l)(B)." &I
                                                               . 6, lines 16). The Court
                                                               p.
    concluded the "allegations are too speculative to state a claim." (Id.p. 6, line 17).
          Nothing in 1 800 GET THIN'S complaint was groundless, unreasonable, vexatious,
    or pursued in bad faith. None of the Court's findings indicate such a exceptional
    circumstance. To the contrary, the Court concluded that damages were too speculative, and
    that while defendants acted with "falsity," the false conduct was not cognizable under the
    Lanham Act. There is nothing in the Court's decision or any of the facts in this case to
    show "exceptional" circumstances that 1 800 GET THIN'S case was "groundless,
    unreasonable, vexatious, or pursued in bad faith." Love v. Associated Newspapers, Ltd.,
    61 1 F.3d 601,615 (9th Cir. 2010). The Court's Opinion demonstrates just the opposite,
    that there was falsity involved in this case, only the Lanham Act was not the correct
    remedy.


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                 2. Defense counsel charges different fee rates in different Courts.
          Defendants' request for attorney fees shows the following fee rates for its attorneys
    and paralegals:
          Kelli Sager            $522.00 an hour
          Jeffrey Glasser        $292.50 an hour
          Paralegals             $171.00 an hour.
          However attached as Exhibits "A," "B," and "C" are the July 19,2011, July 20,
    20 11, and July 25,20 11, Fee Applications which defendants' counsel Kelli Sager and
                                                                /
    Davis, Wright Termaine LLP, made in the LA Times' bankruptcy proceeding entitled In re
    Tribune Company, United States Bankruptcy Court, District of Delaware, Case No. 08-
    13141 (KLC), which is consolidated with In re Los Angeles Times Communications, LLC.,
    United States Bankruptcy Court, District of Delaware, Case No. 08-13 185 (KJC). In those
    Fee Applications which were made only 14- days before defendant filed its current
    motion on August 8,2011, defendant lists the following hourly fees rates for these same
    individuals (Request for Judicial Notice, Exhibit "A," p. 4; Exhibit "B," p. 40; Exhibit "C,"
    p. 77):
          Kelli Sager           $470.48
          Jeffrey Glasser       $26 1.90
          Paralegals            $108.00
                 3. Defendants' attorneys have engaged in willful subterfuge.
          Defendants' attorneys charge one rate for their work to one court and another
    different rate to another court for the identical work. The conduct is inexcusable because
    defense counsel is a fiduciary in the Bankruptcy Court with the highest duty of honesty and
    full disclosure which they are violating with impunity. Portions of the attached Fee
    Applications to the Bankruptcy Court involve the preparation for the litigation involved in
    this matter. There is no justification for the different rates, and the different billing rates
    demonstrated defendants' and their counsel's "bad faith."
          In Muniz V. UPS, 201 1 U.S. Dist. LEXIS 36697 * 3 (N.D. Cal.March 25,201 I), the


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    Court stated:
                 "'A fee request that appears unreasonably inflated is a special circumstance
          permitting the trial court to reduce the award or deny one altogether. Serrano v.
          Unruh, 32 Cal. 3d 621,635, 186 Cal. Rptr. 754,652 P.2d 985 (1982); accord Chavez
          Jv. County of Los Angelesl, 47 Cal. 4th [970] at 990 [(20 1O)]. "' If ... the Court were
          required to award a reasonable fee when an outrageously unreasonable one has been
          asked for, claimants would be encouraged to make unreasonable demands, knowing
          that the only unfavorable consequence of such misconduct would be reduction of
          their fee to what they should have asked for in the first place. To discourage such
          greed, a severer reaction is needful."' Unruh, 32 Cal. 3d at 635 (quoting; Brown v.
          Stackler, 612 F.2d 1057, 1059 (7th Cir. 1980)) (alterations by Unruh court)."
          Attorney fees awards must be based on the reasonable hourly rate of the attorney.
    Beaty v. BET Holdings, Inc., 222 F.3d 607,612 (9" Cir. 2000)(courts must carefully
    review attorney's request to avoid "padding," "duplication," and "excessive" requests).
    The court determines the rates within the range of reasonable rates charged by the
    judicially awarded comparable attorneys for comparable work. Jadwin v. County of Kern,
    767 F. Supp. 2d 1069, 1135 (E.D. Cal. 201 1). The court is to carefully scrutinize the bills
    to prevent unreasonable requests for fees, avoid "padding" in the form of inefficient or
    duplicative efforts, and unreasonably inflated requests. Cosbv v. Autozone, Inc., 20 10
    U.S. Dist. LEXIS 137735 * 11 (E.D. Cal. Dec. 16,2010 ), citing Schwarz v. Secretary of
    Health & Human Services, 73 F.3d 895,905 (9thCir. 1995), and Gates v. Deukrnejian, 987
    F.3d 1392, 1400 (9" Cir. 1992).
          It is inexcusable to "double dip" and seek different rates before this Court. The
    standards of Rule 4-200 of the California Rules of Professional Conduct require honesty in
    fact, reasonableness, and good faith which defendants' attorneys have violated with
    impunity. Their conduct is inexcusable and willfully in bad faith.
          Defendants contend their rates in their motion are "consistent with those prevailing
    in the Los Angeles market for legal services." (Defendants' Memo, p. 15, lines 10-13).


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    That is bold faced nonsense. They charge one rate to one court and another rate to this
    Court, and then hide the fact from both courts. The egregious nature of the conduct in this
    matter violates Rule 4-200 of the California Rules of Professional Conduct. This conduct
    in itself is justification for total denial of all fees requested. James v. Cardinal Health 200,
    -.Inc   9
                2010 U.S. Dist. LEXIS 123312 *6-7 (C.D. Cal. 2010)(a fee request that appears
    unreasonably inflated is a special circumstance permitting the trial court to reduce the
    award or deny one altogether.).
                       4. Defendants have willfully concealed their 30% discount
                 While telling this Court they are charging their usual market rate, defendants have
    engaged in even more disturbing conduct of concealing their discounts to other courts.
    This conduct is inexcusable. In the Fee Applications to the Bankruptcy Court attached as
    Exhibits "A," "B," and "C," defendants' counsel, Davis, Wright & Tremaine, has a ten
    percent (10%) discount granted to the LA Times in the bankruptcy proceeding, and then on
    top of that 10% discount a 20% discount ordered by the Bankruptcy Court, for a total of a
    30% discount.'
                 THERE IS NO THIRTY PERCENT (30%) DISCOUNT IN THEIR BILLS BEFORE
    THIS COURT. The dishonesty is unfathomable and would reduce the fee application by
    $32,612.14 ($108,707.15 x 30% = $32,612.14). The concealment is shocking. There is no
    possible way for defense counsel to charge the debtor LA Times the fee requested to this
    Court because the Bankruptcy Court will not permit it.



             ' See Fee Application dated July 19,2011, signed by Attorney Kelli Sager, Dr. Omidi's Request for
    Judicial Notice, Exhibit "A," p. 13, where Attorney Sager states:
             "Davis respecthlly requests that payment be made to Davis pursuant to the terms of the
             Compensation Order for the period of September 1,2010 through September 30,2010 in the
             amount of $61,136.25 (80% of $76,420.3 1) on account of professional services rendered, and
             $1,292.08 for the reimbursement of expenses incurred in connection therewith, for a total payment
             of $62,428.33." (See Req. Judicial Notice, Exhibit "B," p. 49, & Exhibit "C," p. 90)
    The 10% discount shown on pages 16,18,19,2 1, and on many pages throughout the Applications is taken
    first, and then after the total is arrived at the additional 20% discount ordered by the Bankruptcy Court (pp.
    13,49, & go), is then subtracted. Defendants and their counsel have deliberately concealed this fact and
    their conduct not only from this Court, but also from the Bankruptcy Court.

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           Section 330(a)(l)of the Bankruptcy Code, 11 U.S.C. 8 330(a) provides that "the
    court may award to . . . a professional person employed under section 327 . . . [A]
    reasonable compensation for actual, necessary services rendered by the . . . professional
    person . . . and. (B) reimbursement for actual, necessary expenses. 11 U.S.C. 8 330(a)(l);
    In re Weibel, Inc., 176 B.R. 209,2 11 (9th Cir. BAP 1994). Prior Court approval is
    required before an attorney can charge a bankrupt debtor any fee. Federal Rules of
    Bankruptcy Procedure, Rule 2014; In re Atkins, 69 F.3d 970,973 (9'" Cir. 1995). "Prior
    approval is strongly preferred because it permits close supervision of the administration of
    an estate, wards off volunteers attracted to the kitty, and avoids duplication of effort." In re
    Singson, 4 1 F.3d 3 16,3 19 (7th Cir. 1994).
           Defendants and their counsel are seeking to "fool" this Court into granting an
    unlawful fee where they profit 30% more in the amount of $32,612.14 than .the Bankruptcy
    Court will permit. They have already been paid $459,3 13.91 in the Bankruptcy Court for
    the exact same research and legal arguments for which they seek compensation in this
    Court. (Request for Judicial Notice, Exhibit "A," p. 33). Defendants conduct is
    unconscionable. The entire fee application should be denied.
                   5. Defendants' motion is a duplicate of motions in other cases.
           Defendants filed a 25-page Motion to Dismiss which was a virtual carbon copy of
    many other motions and memoranda defendants have filed in other cases, including the
    case of Julian Omidi v. Stuart Pfeifer and Los Anaeles Times, LA Superior Court Case No.
    BC 458479, (Req. Jud. Not., p.114, Exhibit "Dm),and Michael Omidi v. Michael Hiltzik
    and Los Angeles Times, LA Superior Court Case No. BC 458479 (Req. Jud. Not., p. 141,
    Exhibit           It was as if defendant pushed a button, duplicated its prior motions in like
    cases, and then asked the court for $108,707.15 in fees in what amounts to an effort to
              In their Motion for Fees, defendants seek many hours analyzing and discussing these two lawsuits.
    There is no basis for this Court to be asked to compensate defendants for the work they performed in
    dealing with other plaintiffs in other lawsuits. The only relevance these other lawsuits have to this matter is
    that the effort defendants' counsel expended were "duplicative" of the efforts in those lawsuits, and now
    they seek to be "double" paid by filing Motions for Attorneys Fees in the other lawsuits and being paid
    "twice" for the same work. Farris v. Cox, 508 F.Supp. 222,227 (N.D.Ca1. 198l)(duplication of effort is not
    compensable in motion for attorneys fees and constitutes "overreachingyy).

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    "fool" the Court to think defendants' attorney provided "new" work for which it could
    charge "new" exorbitant fees, instead of the truth that the work was a "duplicate" of work
    already performed.
          As discussed below, the Motion for Attorneys Fees is a carbon copy of the Motion
    for Attorney's Fees filed in the case of Michael Omidi v. Michael Hiltzik and Los Angeles
    Times
    -'     LA Superior Court Case No. BC 458479 (Req. Jud. Not., p. 167, Exhibit "F"). It
    uses the same language, same declarations, and same arguments. It parrots the touting of
    Ms. Sager as a "preeminent" attorney, and when the carbon copy nature of the motion is
    examined, such touting becomes offensive. (See pp. 20-21 infi-a.).
                6. The Court should denv defendants' entire fee application.
          Defendants' effort to fool this Court and not disclose the discount mandated by the
    Bankruptcy Court is improper. No court should permit this conduct. This is the type of
    conduct that should result in denial of the Motion for Attorney's Fees.
          In Serrano v. Unruh, 32 Cal. 3d 62 1,635 (1982), the Court warned against attorneys
    who engaged in a course of conduct of excessive and wasteful billing for unnecessary
    services. The Court found such requests should not be approved in any respect, despite the
    fact that other parts of their services "might" have had some value. The Court cited to the
    federal cases which denied attorneys any compensation when their bills were wasteful,
    duplicative, or unnecessary:
                "See, e.g., Copeland v. Marshall, supra, 641 F.2d 880,902-903 [not allowable
          are hours on which plaintiff did not prevail or 'hours that simply should not have
          been spent at all, such as where attorneys' efforts are unorganized or duplicative.
          This may occur . . . when young associates' labors are inadequately organized by
          supervising partners' (fns. omitted)]; Game v. Maher, supra, 594 F.2d 336,345
          [excessive time spent]; Lund v. Affleck (1st Cir. 1978) 587 F.2d 75, 77 [if initial
          claim is 'exorbitant' and time unreasonable, court should 'refuse the fwther
          compensation'];Revnolds v. Coomev (1st Cir. 1978) 567 F.2d 1166, 1167
          [duplication of effort]; Farris v. Cox (N.D.Ca1. 1981) 508 F.Supp. 222,227 [time on


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           fee petition denied for 'overreaching']; Vocca v. Playboy Hotel of Chicago, Inc.
           (N.D.111. 1981) 5 19 F.Supp. 900,901-902 [fee denied in entirety on ground of
           counsel's dilatoriness and hours claimed for clerical work]; Jordan v. United States
           Dept. of Justice (D.D.C. 1981) 89 F.R.D. 537,540 [fee denied in entirety on ground
           of unreasonable request and inadequate documentation]."                a.at 635 n.21.
           Defendants' counsel owed this Court a duty of candor and honesty when they
    petitioned for fees. They violated that duty with impunity, dishonesty, and
     incomprehensible recklessness. There is no excuse to conceal the 30% discount, the
     differences in fee rates, and the duplication of other cases. These multiple act of
     concealment should result in a total denial of the fees. James v. Cardinal Health 200, Inc.,
    2010 U.S. Dist. LEXIS 123312 *6-7 (C.D. Cal. 2010)(inflated free requests is ground to
     deny requested fee in total).
           B. Basis for Opposition to Motion for Fees.
           Defendants' Motion for Fees is made in bad faith because defense counsel has
    charged one fee rate in this Court and a different fee rate in the Bankruptcy Court for the
    identical work, while defendants have concealed the overreaching from this Court.
    Defense counsel has willfully concealed that they have granted a 30% discount on their
    "reduced" fees in the Bankruptcy Court and sought in bad faith to "fool" this Court into
    believing the requested fee is their ordinary "market" rate. Defendants make no showing oi
    "exceptional" circumstances required for an attorney's fees award under the Lanham Act,
    and defendants have engaged in wasteful, duplicative, and unnecessary service which were
    excessive.
                                                      11.
          DEFENDANTS HAVE ENGAGED IN WASTEFUL, D'LTPLICATIVE, AND
                  UNNECESSARY SERVICES WHICH THEY CONCEALED
                                         FROM THE COURT.
           A. Defendants Make No Showing of Exceptional Circumstances.
                  1. Defendants provide no evidence or testimony to support their claim.


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             Defendants have made no showing of exceptional circumstances required by section
   I   35(a) of the Lanharn Act for an award of attorneys fees. There is no showing of economic
       hardship, pattern of abusive litigation, or bad faith. 1 800 GET THIN has a legitimate
       claim against defendants for their anti-competitive activities, only the Lanham Act,
       according to the Court's ruling, is not a remedy where other remedies for defendants'
       falsity, sock-puppeting, and anti-competitive conduct may well be appropriate. Stephen W.
   1 Boney, Inc. v. Boney Services, Inc., 127 F.3d 821, 825 (9th Cir. 1997)(even when case is
       "exceptional," whether or not to award attorney's fees is within court's discretion).
             In Adidas Am., Inc. v. Calmese, 20 11 U.S. Dist. 5 1715 * 4 (D.C. Or. November 19,
       2010), the Court stated:
                    "'The Ninth Circuit construes the '"exceptional cases" requirement narrowly.'
             Classic Media, Inc. v. Mewborn, 532 F.3d 978,990 (9th Cir. 2008)(quoting Gracie
             v. Gracie, 217 F.3d 1060, 1071 (9th Cir. 2000)). Under 5 1117(a) '[elxceptional
             circumstances can be found when the non-prevailing party's case "is groundless,
             unreasonable, vexatious, or pursued in bad faith."' Gracie, 2 17 F.3d 1060, 1071
             (citation omitted). See also Love v. Associated Newspapers, LTD., 61 1 F.3d 601,
             615-16 (9th Cir. 20 10). The Ninth Circuit has recognized cases may be 'exceptional'
             on a showing of 'something less than bad faith'; for example, when a party raises
             'groundless arguments and crea.t[es] both serious inconvenience and economic
             hardship' for the opposing party. Stephen W. Bonev, Inc. v. Bonev Servs., Inc., 127
             F.3d 821, 825-27 (9th Cir. 1996). In determining whether a case is exceptional, the
             Ninth Circuit has also considered a party's engagement in a 'pattern and practice of
             abusive litigation practices.' Lahoti v. Vericheck, Inc., 636 F.3d 501,5 10-11 (9th
             Cir. 201 1).
                   "If a court concludes a case is exceptional under 5 1117(a), the court has
             discretion as to whether to award attorneys' fees. 15 U.S.C.              5 1117(a)('The court in
             exceptional cases may award reasonable attorneys' fees to the prevailing
             party.')(emphasis added)). See also Classic Media, 532 F.3d 978, 990. Under


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          fj1117(a) 'awards are "never automatic and may be limited by equitable
          considerations." Rolex Watch, U.S.A., Inc. v. Michel Co., 179 F.3d 704, 71 1 (9"
          Cir. 1 9 9 9 ) ( s u o t m g . ,                               6 F.36 614,620 (9th Cir.
           1993))."
          There is no showing, evidence, or testimony to establish any of the elements
    necessary to have "exceptional circumstances" in this case, and nothing in the Court's July
    25,201 1, Order indicate any bad faith, improper litigation tactics, or groundless claims.
    Rather, the Court found that 1 800 GET THIN'S damages were speculative, even though
    there was falsity involved in defendants' conduct, and because of that falsity there should
    be no basis to find "exceptional circumstances" in this case.
                 2. Defendants' authorities do not support their position.
          Defendant cites Cairns v. Franklin Mint Co., 292 F.3d 1139 (9thCir. 2002), for the
    proposition an exceptional circumstance exists where the lawsuit is groundless,
    unreasonable, vexatious, or pursued in bad faith. (Defendants' Memo, p. 1, lines 18-2 1).
    However, in Cairns, the Estate and Memorial Fund for Princess Diana brought an action
    against the Franklin Mint alleging Trademark Infringement from the Mint's use of the
    name and likeness of Princess Diana claiming both false advertising and they owned the
    right to post-mortem publicity for Diana. The trial court granted defendant summary
    judgment and awarded attorney's fees. The Ninth Circuit affirmed, finding defendant had a
    right to fair use and the false advertising was groundless because defendants statements
    were true. The case met the exceptional circumstance requirement of the Lanham Act for
    attorneys fees because the false advertising claim was groundless and unreasonable. The
    "statements in the advertisements at issue were true" and plaintiffs "had no reasonable
    basis to believe they were false."    Id.at 1156. Plaintiffs' "dilution of trademark claim was
    groundless and unreasonable because it had no legal basis."                    The Court called the claim
    "absurd" and "just short of frivolous." The Court stated the evidence demonstrated there
    was no basis for plaintiffs' claim the mark "'Diana, Princess of Wales' had taken on a
    secondary meaning in the mind of the public and now primarily identifies 'charitable and


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    humanitarian services rather than Princess Diana the individual."'              Id. Plaintiffs'
    endorsement claim, while unsuccessful, was not groundless or unreasonable, and therefore
    not within the exceptional circumstances of the Lanham Act.                    n. 15.
          The statements defendants made against 1 800 GET THIN were false, the "sock-
    puppeting" was false, and the censoring of favorable comments about 1 800 GET THIN
    was false. The Court's only criticism was that 1 800 GET THIN'S claims and damages
    were speculative. Nevertheless, defendants' falsity was pervasive, and whether the
    Lanham Act or some other remedy is more appropriate, there is no basis to suggest 1 800
    GET THIN has litigated in bad faith or without grounds. Defendants have made no
    showing of bad faith, vexatiousness, or groundlessness. Gracie v. Gracie, 217 F.3d 1060,
     1071 (9th Cir. 2000)(even when exceptional circumstances exists, the Lanham Act
    "provides that the court 'may' award fees; it does not require them.")
                 3. 1 800 GET THIN is not a party to any other litigation with defendants.
          Defendants claim they were forced to defend against an "onslaught" of "fiivolous"
    litigation in four (4) other cases for their reporting on persons and entities related to the
    "ubiquitous" 1' 800 GET THIN. (Defendant's Memo, p. 9, lines 7-13). However, 1 800
    GET THIN is not responsible for other plaintiff who it cannot control when they bring
    other lawsuits against defendants. 1 800 GET THIN is not a party to any of those lawsuits,
    and defendants claim that 1 800 GET THIN is responsible for "individuals and entities
    connected" with it as advertisers is baseless and show no pattern of any kind.
          The lawsuits to which defendants refer are:
          (1) Michael Omidi v. Hiltzik, LA Superior Court case No. BC45 1424;
          (2) Julian Omidi v. Pfeifer, Los Angeles county Superior Court Case No.
    BC458479;
          (3) Beverly Hills Suraen, Center LLC v. Does, LA Superior Court Case No. BC
    45 1267
          (4) Beverly Hills Surgery Center v. Does, LA Superior Court Case No. BC 436609,
    which was dismissed.


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          A cursory examination of the suits reveals that neither Stuart Pfeifer nor the LA
    Times are defendants to the fust lawsuit. Michael Hiltzik is not a party to the second
    lawsuit. Neither Hiltzik, Pfeifer, nor the LA Times are parties to the third or fourth
    lawsuits, one of which was dismissed. Most important, 1 800 GET THIN is not a party to
    any of these lawsuits. There is no onslaught of litigation against defendants, and
    defendants claim borders on the nonsensical. Farris v. Cox, 508 F. Supp. 222,227 (N.D.
    Cal. 198l)(wasteful or duplicative litigation should not be rewarded by an award of
    attorney's fees).
          However, defendants have included in their billings their examinations and work on
    all of these lawsuits. The entry of January 24,20 11, shows 3 hours spent regarding the
    state court litigation. On February 7,20 11, counsel spent .3 hours sending a letter
    regarding the state court cases, another -2 hours doing the same on February 8,201 1, and .6
    hours on February 9,20 11, regarding the other cases. The April 4,201 1, hearing on the
    motion to dismiss was for the state case, and the .2 hours expended was for unrelated
    matters. Of the 2.2 hours expended on April 22,201 1, 1.7 were devoted to state court
    matters. The entry of .3 hours on April 26,20 11, was for the state court action as was the
    1.4 hours expended on May 2,201 1. The .2 hours on May 2,20 11, communicating with
    Mr. Oxman regarded the state court matter, as did the .3 hours regarding Mr. Hiltzik and
    Mr. Oxman, and the 0.2 hours regarding Mr. Silverman. Altogether there were 8.1 hours
    expended on the state court matters which have no connection to this case. The effort to
    bill for state court matters is made in bad faith, and should result in a denial of defendants'
    motion in total. Muniz v. UPS, 201 1 U.S. Dist. LEXIS 36697 *3 (N.D. Cal. March 25,
    20 11).
          B. Defendants' Counsel Engaged in Unreasonable and Excessive Services.
                 1. Defendants "churned" their bill.
          An examination of defendants' billing records reveals excessive "churning" of their
    bills to generate unnecessary fees. Defendants claim that Ms. Kahn spent 179.9 hours, Ms.
    Saga1 spent 25.1 hours, and Ms. Sager spent 79.3 hours for a total of 284.3 hours.


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     (Defendant's Memo, p. 16, lines 9-2 1). However, that is not what defendants' billings
     show because those billings when total show 3 11.4 total hours expended. Nowhere in
     defendants' moving papers do they total the number of hours expended or explain how the
     totals were arrived at. The bills themselves do not keep a running total. It is defendants
     duty to keep sufficient records to permit a determination of the amounts, reasonableness,
    and details of their services, and defendants have failed to provide sufficient information to
    calculate their bills. Cosby v. Autozone, Inc., 2010 U.S. Dist. LEXIS 137735 * 11 (E.D.
     Cal. Dec. 16,2010 )(party must present sufficient records to allow court to carefblly
     scrutinize billing to avoid "padding" and unreasonably inflated fee requests), citing
     Schwarz v. Secretary of Health & Human Services, 73 F.3d 895,905 (9thCir. 1995), and
     Gates v. Deukmejian, 987 F.3d 1392, 1400 (9fi Cir. 1992).
            On January 28,201 1, counsel expended 2.0 hours drafting a two (2) page letter to
    plaintiffs counsel, and then on January 3 1,2011, counsel spent another 2.0 hours revising
     it. On February 5,201 1, counsel revised the letter fo 1.0 hours, and then on February 7,
    20 11, held a telephone conference with her colleagues to revise the letter for .3 hours.
    The time expenditure was nonsensical and demonstrates the churning of her bill. However,
    if that wasn't enough, on February 9,20 11, counsel expended .6 hours reviewing and
    rewriting the two (2) page letter. On February 8,201 1, she spent .2 hours discussing her
    revisions, and then an additional email from plaintiffs counsel. All together the two page
    letter took 6.1 hours at $522.00 a hour, for $3,184.20. The billing was absurd.
           For the months of January, February, and March defendants expended 15.8,2.1, and
     82.1 hours, for a total of 100 hours to file a 25-page motion to dismiss. Defendants spent
    four (4) hours time per page, and the expenditure of time was abusive, as was the cost of
    $52,200.00 or 2,088.00 per page. The cost of $52,200.00 for a single motion should shock
    this Court's conscience.
           Ms. Sager is not a novice at these matters. Attached as Exhibits "A," "B," and "C"
    are her billings to the bankruptcy court which show she has been paid $459,313,91 for
    identical type proceedings in bankruptcy elated matters. (Request for Judicial Notice,


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    Exhibit "A," p. 33). All that defense counsel was required to do was "push" the buttons on
    her computer to duplicate work she had previously done, and which she has done for years.
    Her own declaration contain self-touting of her experience in these types of matters.
    (Defendants' Memo, p. 13, line, 12, to p. 14, line 2). The expenditure of a hundred hours
    to research matters which defense counsel has done for years is not credible. A court may
    disbelieve an affiant's testimony where it is "too incredible to be accepted by reasonable
    minds." Butler v. Bensinger, 377 F.Supp 870, 874 (N.D. Ill. 1974).
                2. Defendants have "padded" their bill.
          The billing for July, 20 11, shows 105.7 hours devoted to a consideration of 1 800
    GET THIN'S Motion to Amend to set forth antitrust and racketeering claims which are
    different in kind from the Lanham Act. The devotion of this kind of time constituted
    churning and padding of the bill. Muniz v. UPS, 201 1 U.S. Dist. LEXIS 36697 * 3 (N.D.
    Cal.March 25,201 1). While he Court determined there was no Lanham Act violation, the
    facts showed the Lanham Act was the wrong remedy because defendants' conduct was
    anti-competitive and an antitrust violation. Defendants make no contention the
    Amendment was in any way offered in bad faith. The 105.7 hours expended in response to
    the request do not meet the standards required for exceptional circumstances to award
    attorneys fees because the motion, which showed anti-competitive conduct by defendants,
    was not "groundless, unreasonable, vexatious, or pursued in bad faith." Love v. Associated
    Newspapers, Ltd., 6 11 F.3d 601,615 (9th Cir. 2010).
          In Fanis v. Cox, 508 F. Supp. 222,227 (N.D. Cal. 1981), the court evaluated a
    statutory attorneys fee request under 42 U.S.C. section 1988, and found the request
    amounted to "overreaching" and unreasonable padding of the bill.              a.at 227. The Court
    warned against bills that were determined to be wasteful, duplicative, or unnecessary:
                "In cases involving statutory fee requests to the prevailing party in a class
          action, the parties present time records and a short memorandum of controlling law.
          To perform this routine task, the Redwood group curiously and, in this court's
          opinion unnecessarily, engaged the services of the Schear fm in Oakland to prepare


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          a boiler-plate 'Memorandum Brief on Setting Reasonable Attorneys' Fees.' Under
          .the circumstances, the Schear firm's request for payment of 49.5 attorney hours
          allegedly spent preparing and reviewing this short brief and routine declarations of
          the Redwood lawyers is patently unreasonable. Further, in light of its decision to
          delegate this project, Redwood's request for 26.6 attorney hours represents a grossly
          inflated claim which cannot stand." Id.at 227.
    The Court concluded:
                   "Even in civil rights cases, fees may be denied in their entirety when
          petitioning lawyers are guilty of overreaching in seeking outrageously unreasonable
          fees. Section 1988 provides that a court 'in its discretion, may allow the prevailing
          party' reasonable attorneys' fees as part of the costs. The present situation is an
          appropriate occasion for the court to exercise its discretion and deny all fees relating
          to work on the fee petition because the request here represents a grossly inflated
          bill."   Id.
          The excessive nature of defendants' billing in this case is inexcusable. There is no
    justification for the waste, churning, and effort to "stick" it to their opposition. The billings
    displayed by defendants in this case are shocking and improper. Jadwin v, County of Kern,
    767 F. Supp. 2d 1069. 1105 (E.D. Cal. 20 11).
                   3. Defense Counsel's billing is unreasonable.
          Defendants expended 88.4 hours talking about, researching, and drafting the 18-page
    Reply Brief which was filed on May 9,20 11. On May 2,20 11, defendants expended 1.4
    hours reviewing the opposition, and the .6 hours talking about the opposition, and then
    another .3 hours talking about the opposition, and then .7 hours talking about an ex part
    application that never happened. On May 3,201 1, again defendants counsel reviewed the
    opposition, and then spent 5.3 hours reviewing and analyzing the opposition. The entries
    in the billing records are nonsensical.
          On May 4,201 1, defendants' attorneys communicated to one another about the
    opposition and a reply. They then spent .5 hours talking about it some more. They then


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    expended 8.3 hours drafting a reply, which included another .8 hours of talking about it.
    On May 5,201 1, defendants talked about it some more for .5 hours and then drafted some
    more for 11.1 hours. Then they expended 5.1 hours researching and revising. That was
    followed by 9.4 hours of revising the reply on May 6, followed by another 8.5 hours of
    review on May 7,201 1. On May 8,201 1, they reviewed the Reply Brief some more for .9
    hours and then reviewed it some more for 2.4 hours. That was followed by 1.1 hours of
    some more review.
          On May 9,201 1, defendants counsel talked about the Reply some more for .3 hours,
    and then reviewed it some more for 4.9 hours. They cite checked it for 2.1 hours. The
    expenditure of time on this matter of 88.4 hours was both nonsensical and in bad faith.
    There was no basis that an 18 page document could reasonably consume such an
    unnecessary expenditure of time.
          Altogether, Ms. Sager expended 88.4 hours drafting the 18-page Reply Brief, for
    $46,144.80, or $2,563.60 per page. This amount displays a callous "churning" of legal
    fees. No reasonable attorney who charges $522.00 per hour should be able to look a court
    in the eye and say they spent 88.4 hours drafting an 18-page Reply Brief. The conduct of
    requesting payment of these fees is nothing short of reckless.
          In Brown v. Stackler, 612 F.2d 1057, 1059 (7th Cir. 1980), the Court stated:
                "If, as appellant argues, the Court were required to award a reasonable fee
          when an outrageously unreasonable one has been asked for, claimants would be
          encouraged to make unreasonable demands, knowing that the only unfavorable
          consequence of such misconduct would be reduction of their fee to what they should
          have asked for in the first place."
          Defendants' fee request is outrageous because it (1) charges a different rate from that
    charged to other courts at the same time, (2) conceals the 30% discount granted in other
    cases, (3) conceals the duplication and "push button" nature of the proceedings which are
    identical to other matters where they have been paid $459,3 13,91, and (4) demonstrates
    "churning" to make a 18-page Reply which cannot possibly justify 88.4 hours of work.


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    Defendants are attempting to "fool" this Court, and their conduct is improper. Their
    conduct fee request should be denied.
          C. Defense Counsel's Services Were Wasteful, Duplicative, and Uniustified.
                 1. Defendants' cannot iustifv the excessive services.
          The 3 11.4 hours expended on this case are unreasonable, unnecessary, and
    unjustified. The complete number of pleading pages defendants submitted to the Court
    totaled 74 pages (Motion to Dismiss Memo 25-pages; Reply Brief 18-pages, Opposition to
    Motion to Amend 25-pages, Ex Parte Application which was withdrawn 6-pages), with
    several hundred pages of exhibits of the state court cases which had nothing to do with this
    proceeding. The real work in this case does not justify $108,707.15 in fees.
          Defendants claim the litigation in this case was novel, difficult, and required unusual
    skill because of the "scorched earth" tactics of 1 800 GET THIN. (Defendants' Memo, p.
    2, lines 18-26). However, defendants' claims are nonsensical. Not only was there no
    scorched earth tactic, but also 1 800 GET THIN was not a party to any other legal
    proceeding. This was a "push" button case for defendants and the exact same litigation for
    which they had already billed $459,313.91 in the Bankruptcy Court as of July 19,2011.
    (Request for Judicial Notice, Exhibit "A," p. 33). All defendants did is make the exact
    same pleading they made in the other matters where they have billed $459,3 13,91 through
    the Bankruptcy Court. (Request for Judicial Notice, Exhibit "B," p. 33).
          A court should scrutinize an attorney's fee application in detail for "padding,"
    "duplication," and "excessive" fee requests. Gracie v Gracie, 217 F.3d 1060, 1071 (9th
    Cir. 2000)(the District Court should not "uncritically accept[] a party's representations as
    to the time and money reasonably spend on the case"). The court should reduce the fee
    award where there is duplication of effort through the inefficient use of multiple counsel.
    Jadwin v, Countv of Kern, 767 F. Supp. 2d 1069.1105 (E.D. Cal. 201 1). Inefficient,
    unnecessary, and duplicative efforts from counsel seeking fees must be avoided and when
    present are not subject to compensation. Muniz v. UPS, 201 1 U.S. Dist. LEXIS 36697 * 3
    (N.D. Cal. March 25,201 1).


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          Defendants' fee application is notable for its "concealment" of its duplication of
    other case and the push button nature of printing out the same motion it had made in other
    cases and for which it had already received compensation before the Bankruptcy Court.
    There is no excuse for not being forthright with this Court. For defendants to claim they
    needed to engage in hundreds of hours of research and endless review of legal precedent is
    not only nonsensical, but also offensive, especially when it included four (4) other lawsuits
    from other parties which should never be a part of this matter. 5 McCarthy on Trademark
    and Unfair Competition § 30: 102 (4thed. 2001) ("It is appropriate for the court to reduce a
    total attorney fee amount by a percentage which represents work on [nonrecoverable]
    non-Lanham Act claims.").
                 2. Defendants hourly fee rate is unreasonable.
          Defendants state their rates are "reasonable and reflect the attorneys's experience,
    skills and reputations. Sager Decl. 7 3. For example, Ms. Sager is a preeminent First
    Amendment attorney with more than 25 years of litigation experience. Sager Decl. 7 4."
    (Defendants' Memo, p. 13, lines 15-18). However, the self-touting is not only without
    merit, but also displays that Attorney Sager has been at this for a long time, and she has
    done these same kinds of motions dozens of times. Her bankruptcy fee applications
    disclose that fact. But what she has done before this Court is inexcusable by claiming she
    and her firm were required to engage in hundreds of hours of research, when the true facts
    were they "pushed the buttons" on her computer, printed out the duplicative motions she
    had filed in the past, and then attempted to charge hundreds of hours for work she had
    already performed in the past and already been paid for in other cases in the bankruptcy
    proceeding and elsewhere.
          According to the "loadstar" method developed by the Supreme Court, "the most
    useful starting point for determining the amount of a reasonable fee is the number of hours
    reasonably expended on the litigation multiplied by a reasonable hourly rate." Hensley v.
    Eckerhart, 461 U.S. 424,433 (1983). A party requesting fees must have accurate and
    detailed records to justifjr the services or expenses requested. Muniz v. UPS, 201 1 U.S.


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    Dist. LEXIS 36697 * 3 (N.D. Cal. March 25,201 1). The court may reduce an award of
    fees for lack of detail or explanation of the reasons that a fee or cost was incurred in
    connection with the litigation. Hensley v.. Eckerhart, 46 1 U.S. 424,438 n. 13 (1983).
          In Jadwin v, County of Kern, 767 F. Supp. 2d 1069,1105 (E.D. Cal. 201 I), the Court
    stated:
                 "'The fee applicant bears the burden of documenting the appropriate hours
          expended in litigation and must submit evidence in support of those hours worked.'
          Gates v. Deukmeiian, 987 F.2d 1392, 1397 (9th Cir. 1992). A court must guard
          against awarding fees and costs which are excessive and must determine which fees
          and costs were self-imposed and avoidable. INVST Fin. Group v. Chem-Nuclear
          @.,8 15 F.2d 391,404 (6th Cir. 1987). A court has 'discretion to "trim fat" from,
          or otherwise reduce, the number of hours claimed to have been spent on the case.'
          Soler v. G & U, Inc., 801 F. Supp. 1056, 1060 (S.D.N.Y. 1992)(citationomitted).
          Time expended on work deemed 'excessive, redundant, or otherwise unnecessary'
          shall not be compensated. See Gates, 987 F.2d at 1399 (quoting Hensley [v.
          Eckerhart,] 461 U.S. [424] at 433-34 [(1983)]."
          Defendants' fee request is unjustified because defendants7counsel (1) charge one
    rate to one court and a different rate to another court, (2) conceals the 30% discount
    granted in other cases, (3) conceals the duplication and "push button" nature of the
    pleadings they filed in this case which are virtually identical to their pleadings in other
    cases where they have been paid $459,313.91, and (4) demonstrates "churning" and
    overreaching of unconscionable proportions. Defendants' conduct has been an improper
    attempt to "fool" this Court. Their request for attorneys fees should be denied for
    "churning" and "bad faith."
                 3. Defendants' request for "Fees on Fees" is improper.
          Defendants request $1 1,506.50, for having filed this Motion for Attorneys Fees,
    along with additional fees they might incur in connection with further briefing and hearings
    on this motion. (Defendants' Motion, p. 1 n. 1, lines 25-28). However, a request for "fees


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     on fees" for litigating a motion for Attorney's Fees is improper. Luna v. Hoa Trung Vo.,
    201 1 U.S. Dist. LEXIS 56427 "31 (E.D. Cal. May 25,201 1). A litigant is not entitled to
    "fees on fees" for seeking Attorney's Fees. Thomvson v. Gomez, 45 F.3d 1365, 1368 (gth
    Cir. 1995). "Fees on fees" litigation should be excluded from the calculation of an award
    for attorney's fees. Commissioner, I.N.S. v. Jean, 496 U.S. 154, 163 n. 10 (1990).~
           Defendants' Motion for Attorneys Fees is a carbon copy of the motion defendants
    filed in the case of Michael Omidi v. Michael Hiltzik and LA Times, LA Superior Court
    Case No. BC 458479 (Req. Jud. Not., Exhibit F, p. 167). The Memorandum is the same,
    the declarations are the same, the exhibits are the same. The wording in the Memorandum
    is virtually identical.
           When it comes to touting Ms. Sager, the Memorandum in this case says "These rates
    are reasonable and reflect the attorneys' experience, skills and reputations. Sager Decl. 7 3.
    For example, Ms. Sager is a preeminent first Amendment attorney with more than 25 years
    of litigation experience." (Defendants' Memo, p. 13, lines 15-18). Despite 25-years of
    experience, Ms. Sager engages in push button carbon copy litigation where in the Omidi
    case her Memorandum states: "The rates described above are more than reasonably, in
    light of the respective attorneys' experience, skills and reputations. Kohn Decl. 77 5-9.
    For example, Ms. Sager is a preeminent First Amendment attorney with more than 25 years
    of litigation experience." (Defendants' Memo, p. 6, lines 9-1 1).
           The copying of other litigation pleadings in this case is offensive. The request for
    $1 1,506.50 to push a button and duplicate an already completed motion in another matter is
    unreasonable. The Court should recognize defendants' attorneys have provided no time
    accounting for the making of their $1 1,506.50 motion because such an account would be a
    "sham." This request for "fees on fees" is, in and of itself, an overwhelming reason to deny
    defendants' motion. Jadwin v, County of Kern, 767 F. Supp. 2d 1069.1105 (E.D. Cal.


              The Lanham Act does not provide for an award for every fee or cost a party incurs, and it does
    not provide for an award of costs.     Kingsford Products Company v. Kingsfords, Inc., 1989 WL 161544
    (D. Kan.1989)rThe Lanham Act ... does not defme costs to include attorney's fees but only allows
    recovery of attorney's fees in exceptional cases.").

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  1    201 1)("A court must guard against awarding fees and costs which are excessive and must
 2     determine which fees and costs were self-imposed and avoidable.").
                                                                                                    I
                                                CONCLUSION
             For the foregoing reasons, plaintiff, 1 800 GET THIN, LLC., requests defendants'
 6
      I Motion to Recover Attorneys' Fees and Costs be-denied.                                      I
             DATED: August 22,20 11                      SILVERMAN & ASSOCIATES


                                                        BY   W   Robert B. Silveman
                                                                                           Q    -

                                                             -   Attorneys for Plaintiff




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                                                        2%
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     2
                I hereby certifl that a copy of the foregoing was served on all counsel
     3
          of record herein via the Court's electronic notification system on this 22th
     4
          day of August, 20 11.
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                                          IS/ Brian Oxman
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